         Case 4:19-cv-07123-PJH Document 181 Filed 04/24/23 Page 1 of 3




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13   Attorneys for Plaintiffs WhatsApp LLC and Meta
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14

15                                      UNITED STATES DISTRICT COURT

16                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                               OAKLAND DIVISION

18   WHATSAPP LLC, and
                                       )                  Case No. 4:19-cv-07123-PJH
     META PLATFORMS INC.,              )
19
                                       )
                     Plaintiffs,       )                  ADMINISTRATIVE MOTION FOR
20
                                       )                  LEAVE TO FILE UNDER SEAL
21          v.                         )
                                       )
22                                     )
     NSO GROUP TECHNOLOGIES LIMITED )
     and Q CYBER TECHNOLOGIES LIMITED, )
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                                       )
                     Defendants.       )
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                                       )
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     ADMINISTRATIVE MOTION FOR LEAVE TO FILE UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 181 Filed 04/24/23 Page 2 of 3




 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiffs WhatsApp LLC and Meta Platforms,

 3   Inc. (together, “Plaintiffs”), by and through their counsel, respectfully submit this Administrative

 4   Motion for an order permitting them to file under seal portions of the Memorandum of Points and

 5   Authorities in Support of Plaintiffs’ Opposition to Motion for Protective Order (the “Opposition”)

 6   and certain exhibits to the Declaration of Antonio J. Perez-Marques in Support of Plaintiffs’

 7   Opposition to Motion for Protective Order (the “Declaration”).

 8           Plaintiffs request that portions of the Opposition and certain exhibits to the Declaration be
 9   filed under seal pursuant to Civil Local Rules 79-5(c) and (d) because they refer to materials that
10   have been designated as “Highly Confidential – Attorney’s Eyes Only” by Defendants pursuant to
11   the August 31, 2020 Stipulated Protective Order (Dkt. No. 132) in the above-captioned action, and
12   Defendants have sought leave to file those materials, and all references to those materials, under
13   seal (Dkt. No. 179). Plaintiffs take no position as to whether the designated documents satisfy the
14   requirements for sealing, and specifically reserve the right to challenge any confidentiality
15   designations as well as the sealability of the documents at issue.
16           Plaintiffs will lodge with the Court an unredacted copy of portions of the Opposition and
17   certain exhibits to the Declaration in accordance with Civil Local Rule 79-5.          Plaintiffs file
18   concurrently herewith the Declaration of Antonio J. Perez-Marques in support of this motion and a

19   proposed sealing order.

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     ADMINISTRATIVE MOTION FOR LEAVE TO FILE UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 181 Filed 04/24/23 Page 3 of 3




 1   Dated: April 24, 2023                                Respectfully Submitted,

 2                                                        DAVIS POLK & WARDWELL LLP
 3
                                                          By: /s/ Antonio J. Perez-Marques
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17                                                               Platforms, Inc.

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     CASE NO. 4:19-CV-07123-PJH
